      Case 2:23-cv-00160-RWS Document 19-3 Filed 05/14/24 Page 1 of 12




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                        GAINSVILLE DIVISION

THOMAS CHASTAIN,                      )
and JONATHAN V. DUNN, Individually )
And on Behalf of All Others Similarly )
Situated,                             )          CLASS ACTION
                                      )          CIVIL ACTION FILE
      Plaintiffs,                     )          NO. 2:23-CV-160-RWS
                                      )
v.                                    )
                                      )
BLUE LINE SOLUTIONS, LLC              )
                                      )
      Defendant.                      )

  MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION
  FOR RECONSIDERATION TO VACATE DISMISSAL PURSUANT TO
 FED. R. CIV. P 59(e) AND FOR LEAVE TO FILE A SECOND AMENDED
                      CLASS ACTION COMPLAINT

                                BACKGROUND

      This is a case challenging the validity and enforcement of O.C.G.A. § 40-14-

18 which is the “School Zone Electronic Enforcement Statute.” Plaintiffs filed their

Class Action Complaint on August 17, 2023. Dkt. 1. Defendant Blue Line filed a

12(b)(6) Motion to Dismiss on September 12, 2023. Dkt. 6. Plaintiffs filed, as a

matter of right, an Amended Class Action Complaint under Fed.R.Civ.P. 15(a) on

September 26, 2023. Dkt. 7. Defendant’s pending Motion to Dismiss was denied as

moot on September 29, 2023. Dkt. 9. On October 10, 2023, Defendant filed a

                                         1
      Case 2:23-cv-00160-RWS Document 19-3 Filed 05/14/24 Page 2 of 12




renewed Motion to Dismiss Plaintiffs’ Amended Class Action Complaint that this

Court granted on April 16, 2024. Dkts. 11, 17. The Clerk entered an Order of

Judgment on April 16, 2024. Dkt. 18. At the time of the dismissal, the parties had

not engaged in any formal discovery other than Local Rule 26.1 and Fed.R.Civ.P.

26(a)(1) initial disclosures.

                         SUMMARY OF REQUESTED RELIEF

      Plaintiffs timely move to vacate the Court’s Order of Dismissal pursuant to

Fed.R.Civ.P. 59(e) (Altering and Amending a Judgment) to allow Plaintiffs leave to

file the attached Second Amended Class Action Complaint. 1

          Plaintiffs’ Second Amended Class Action Complaint includes additional

facts now known to Plaintiffs since the filing of the Amended Class Action

Complaint and includes a new cause of action challenging the constitutionality of

the School Zone Enforcement Statute and the due-process failures in the way in

which the statute is being applied by the Defendant. After receiving documents in

response to numerous Open Records Requests and from a number of affected

citizens who have been issued citations, Plaintiffs now have knowledge not

previously available to substantiate the new allegations in the Second Amended


      1
        Rule 59(e) provides for alteration or amendment of a judgment within 28
days after entry of the judgment.

                                        2
      Case 2:23-cv-00160-RWS Document 19-3 Filed 05/14/24 Page 3 of 12




Class Action Complaint after the Court’s dismissal. Plaintiffs did not predict that

they needed to amend their complaint until after the dismissal. The proposed Second

Amended Class Action Complaint is not futile, has not been filed with undue delay

and does not unduly prejudice the Defendant.

                  ARGUMENT AND CITATION TO AUTHORITY

   1. Vacating the Order of Dismissal under Fed. R. Civ. P. 59(e) to Amend the
      Complaint is Supported Under Clear Eleventh Circuit Authority.
     It is well within this Court’s authority to grant Plaintiffs’ Motion to Amend

after dismissal of the complaint. “[A]fter a complaint is dismissed, the right to

amend under Rule 15(a) terminates; the plaintiff, however, may still move the court

for leave to amend, and such amendments should be granted liberally.” Czeremcha

v. Int’s Assoc. of Machinists & Aerospace Workers, 724 F.2d 1552, 1556 (11th Cir.

1984). A district court does not abuse its discretion when allowing amendment of a

complaint after dismissal. Region 8 Forest Serv. Timber Purchasers Council v.

Alcock, 993 F.2d 800, 806 (11th Cir. 1993); Spanish Broad. Sys. of Fla. v. Clear

Channel Commc’ns, 376 F.3d 1065,1077(11th Cir. 2004) (A plaintiff may move for

relief under 59(e) by asking the court to vacate its judgment based on proposed

amendments.) If the underlying facts or circumstances can be a basis for relief as set

forth in the proposed Second Amended Class Action Complaint, the Plaintiffs should



                                          3
         Case 2:23-cv-00160-RWS Document 19-3 Filed 05/14/24 Page 4 of 12




have the opportunity to have their case decided on the merits. Foman v. Davis, 371

U.S. 178, 182, 83 S. Ct. 227, 230, 9 L.Ed.2d 222 (1962).

        Unless Plaintiffs have engaged in undue delay, bad faith, repeated failures to

cure deficiencies in previous amendments, created undue prejudice to the Defendant

or the amendment would be futile, the amendment should be “freely given.” Fomon

at 182. The “Federal Rules of Civil Procedure are designed to … facilitate a proper

ruling on the merits.” Diaz v. Jaguar Restaurant Group, LLC, 627 F.3d 1212, 1214

(11th Cir. 2010).

         2. The Liberal Amendment Standard of Rule 15(a) Should be Applied to
            Vacate the Order of Dismissal Under Rule 59(e) and Allow Plaintiffs’
            Leave to File the Second Amended Class Action Complaint.

       The liberal amendment standard set forth in Rule 15(a) has recently been held to

    apply to motions for post-dismissal amendments in the Northern District of

    Georgia. Sheffler, et al v. Americold Realty Trust, Case No. 22-11789, 2023 WL

    3918491 (11th Cir., June 9, 2023) (reversing Northern District Court’s denial of

    Plaintiffs’ post-dismissal Rule 59(e) motion seeking leave to file a second amended

    complaint finding that the more liberal Rule 15(a) standard should be applied to a

    motion for post-dismissal amendment.)2 The liberal amendment standard of Rule


2
  In Sheffler, the Court noted that the lower court wrongly applied a more stringent
standard under Fed.R.Civ.P. 59(e) and 60(b) than Rule 15(a) relying on an
unpublished panel decision in OJ Commerce, LLC V. Ashley Furniture Industries,
                                            4
        Case 2:23-cv-00160-RWS Document 19-3 Filed 05/14/24 Page 5 of 12




15(a) “severely restricts” a district courts discretion to dismiss a complaint without

leave to amend under Fed.R.Civ.P. 15(a) which directs that leave to amend “shall

freely given when justice so requires.” Dussouy v. Gulf Coast Inv. Corp., 660 F.2d

594, 597-98 (5th Cir. 1981) (“The disposition of the plaintiff’s motion to vacate

under rule 59(e) should be governed by the same considerations controlling the

exercise of discretion under rule 15(a). Consequently, our discussion of the motion

under rule 15(a) applies equally to the motion under rule 59(e).”) Dussouy at 597,

n. 1.

        The Eleventh Circuit has followed this broad application to post-dismissal

amendments since the earliest binding decision in Spanish Broadcasting Sys. Of

Fla., Inc., infra. “[L]eave to amend must be granted absent a specific, significant

reason for denial” such as futility of amendment, undue delay, bad faith, undue

prejudice and the same standards apply to motions seeking amendment through Rule

59(e). Id. at 1077.; Thomas v. Farmville Mfg. Co., Inc., 705 F.2d 1307, 1307-08 (11th

Cir. 1983) (“A grant of leave to amend is particularly appropriate following

dismissal of a complaint for failure to state a claim, and, in the absence of a declared

or apparent reason, an outright refusal to grant leave to amend is an abuse of


Inc., 817 F. App’x 686, 693 (11th Cir. 2020). The Eleventh Circuit did not find OJ
Commerce persuasive because it did not discuss the Czeremcha line of cases.
Sheffler at Footnote 2.
                                           5
      Case 2:23-cv-00160-RWS Document 19-3 Filed 05/14/24 Page 6 of 12




discretion.”); Thomas v. Town of Davie, 847 F.2d 771, 773 ( 11th Cir. 1988) (“The

same [Rule 15(a)] standards apply when a plaintiff seeks to amend after a judgment

of dismissal has been entered by asking the district court to vacate its order of

dismissal pursuant to Fed. R. Civ. P 59(e).”); Vanderberg v. Donaldson, 259 F.3d

1321, 1326 (11th Cir. 2001) (“Rule 15(a)’s abuse of discretion standard applies when

a plaintiff seeks to amend an unamended complaint after entry of judgment by

moving to vacate a dismissal pursuant to Fed.R.Civ.P. 59(e).”); Higdon v. Fulton

County, Georgia, 746 F. App’x 796, 801 (11th Cir. 2018) (“the same standard [under

Rule 15(a)] applies when a plaintiff seeks to amend after a judgment of dismissal

has been entered by asking the district court to vacate its order of dismissal pursuant

to Fed.R.Civ.P. 59(e).”).

      Under clear Eleventh Circuit authority and based on the new allegations in the

Second Amended Class Action Complaint, the Order of dismissal should be vacated

so that Plaintiffs can file their Second Amended Class Action Complaint.

      3.     The Order of Dismissal Should be Vacated Even Under the More
             Stringent Rule 59(e) Requirements for Leave to Amend.

      Notwithstanding the extensive list of cases confirming that the Court should

apply a liberal amendment standard and allow Plaintiffs’ post-dismissal motion to

file a Second Amended Class Action Complaint, several Eleventh Circuit cases have

deviated from this standard and can be distinguished on the facts. Kurimski v. Shell
                                          6
      Case 2:23-cv-00160-RWS Document 19-3 Filed 05/14/24 Page 7 of 12




Oil Co., Case No. 21-80727-CV-MIDDLEBROOKS/Matthewman, 2022 WL

2346364 (S.D.

Fla., Jan. 19, 2022) (describing two lines of Eleventh Circuit cases where one line

applied the Rule 15(a) liberal standard to allow amendments after dismissal and the

other line applied the Rule 59(e) “newly-discovered evidence or manifest errors of

law or fact” standard to vacate dismissal and allow an amendment.). In Kurimski,

the court held “the interests of judicial economy and efficiency are best served by

permitting” the post dismissal amendment because Plaintiff can re-file her claims on

the basis of a new complaint which is the “functional equivalent of granting the

motion to amend.” Id. at p.3 (quoting Dussouy v. Gulf Coast Inv. Corp., 660 F.2d

594 (5th Cir. 1981)).

      In the last year, the Eleventh Circuit in two distinct cases applied different

standards to a motion to amend after dismissal of a complaint. In Sheffler v.

Americold Realty Trust, infra, the district court noted the ambiguity for a post-

judgment motion to amend and applied the “stringent standards of Rules 59 and 60,

not the more lenient standard of Rule 15” and denied the post-dismissal amendment.

Id. at 1. On appeal, the Eleventh Circuit vacated the district court’s order of dismissal

and remanded holding that “our earliest binding precedent [Spanish Broad. Sys. of

Fla., 376 F.3d at 1077] provides that the ‘same’ liberal amendment standard also

                                           7
      Case 2:23-cv-00160-RWS Document 19-3 Filed 05/14/24 Page 8 of 12




applies to a Rule 59(e) motion seeking leave to file an amended complaint.” Sheffler

at 2-3.

      Approximately one month later, the Eleventh Circuit analyzed the district

court’s denial of a post-dismissal amendment under Rule 59(e) “newly discovered

evidence or manifest errors of law or fact” standard and Rule 60(b) “extraordinary

circumstances” standard and affirmed the denial of the post-dismissal amendment.

MacPhee v. MiMidx Group, Inc., 73 F.4th 1220 (11th Cir. 2023). See also United

States v. Landmark Hospital of Athens, LLC, Case No. 3:21-cv-00036-CAR, 2023

WL 8720661 (M.D. Ga., Dec. 18, 2023) (relying on MacPhee and finding no abuse

of discretion in lower court’s denial of a post-dismissal amendment). The Eleventh

Circuit in both MacPhee v. MiMedx Group, Inc. and United States v. Landmark

Hospital of Athens, LLC found that Plaintiffs had not met the requirements under

Rule 59(e) or Rule 60(b) for the post judgment motion to vacate and request for leave

to amend. MacPhee at 1251; U.S. v. Landmark at 2.

   These cases are distinguishable. Plaintiffs’ Motion to Vacate the Dismissal

under Rule 59(e) in conjunction with the proposed Second Amended Class Action

Complaint meets the standard necessary for relief. The Second Amended Class

Action Complaint includes significant newly discovered factual evidence based

upon information received through Open Records Requests, witnesses, and proposed

                                         8
      Case 2:23-cv-00160-RWS Document 19-3 Filed 05/14/24 Page 9 of 12




class members who have come forward since the filing of the Amended Class Action

Complaint. Count One of the Second Amended Class Action Complaint establishes

a new cause of action based on new information that challenges the constitutionality

of the School Zone Electronic Enforcement Statute. The proposed Second Amended

Class Action Complaint does not reword or regurgitate the prior pleading dismissed

by this Court. Jacobs v. Tempur-Pedic Intern., Inc., 626 F.3d 1327 (11th Cir. 2010).

      Further, although this Court held in the Order of Dismissal that Plaintiffs were

not contesting the validity or lawfulness of the citations issued to Plaintiffs and the

proposed class members, this was, in fact, a substantive challenge Plaintiffs

attempted to convey in their Amended Class Action Complaint in the factual

allegations regarding the sufficiency of the certificates “sworn to or affirmed”

required to validate the citations. Dkt 17 at p. 17; Dkt. 7 at ¶¶ 9, 10, 17, 21. To this

extent, Plaintiffs take exception to the Court’s factual finding on this issue. Plaintiffs

have provided additional factual allegations to substantiate these claims in the

proposed Second Amended Class Action Complaint based on additional evidence

since the filing of the Amended Class Action Complaint.

      The now dismissed Amended Class Action Complaint asserted that Blue Line

was not an agent of local governments because its contracts with local governments

said it was not their agent. This Court held otherwise. The proposed Second

                                            9
      Case 2:23-cv-00160-RWS Document 19-3 Filed 05/14/24 Page 10 of 12




Amended Class Action Complaint addresses what Blue Line can and cannot do for

a local government or a law enforcement agency.

      Plaintiffs’ Second Amended Class Action Complaint includes facts based

upon newly-discovered evidence that support Plaintiffs’ allegations that the statute

is unconstitutional, that Blue Line is not acting as an authorized agent of Tallulah

Falls or Chatham County under the statute for certain activities and clarifies, based

on new information, Plaintiffs’ contentions regarding the invalidity of the citations

issued to Plaintiffs and the proposed class members.

      Plaintiffs’ Motion to Vacate and the attached Second Amended Class Action

Complaint go far beyond merely asking this Court to reexamine its dismissal. See

Plaintiffs’ Second Amended Class Action Complaint for the recently developed

facts, facts pled to cure deficiencies and Count I challenging the constitutionality of

the O.C.G.A. § 40-14-18.




                                          10
     Case 2:23-cv-00160-RWS Document 19-3 Filed 05/14/24 Page 11 of 12




                                 CONCLUSION

      For the reasons set forth above, Plaintiffs respectfully move the Court to grant

Plaintiffs’ Motion to Vacate the Order of Dismissal and allow Plaintiffs to file the

attached Second Amended Class Action Complaint.

      Respectfully submitted, this 14th day of May, 2024.


                                       s/ John C. Bell, Jr.
                                       John C. Bell, Jr. (Ga. Bar No. 048600)
                                       Pamela S. James (Ga. Bar No. 389015)
                                       THE BELL FIRM
                                       PO Box 1547
                                       Augusta, Ga 30903-1547
                                       john@bellfirm.net
                                       pam@bellfirm.net


                                       /s/ John B. Manly
                                       John B. Manly (Ga. Bar No. 194011)
                                       James E. Shipley, Jr. (Ga. Bar No. 116508)
                                       MANLY SHIPLEY, LLP
                                       Post Office Box 10840
                                       Savannah, Georgia 31412
                                       (912) 495-5360
                                       john@manlyshipley.com
                                       jim@manlyshipley.com

                                       Attorneys for Plaintiffs




                                         11
      Case 2:23-cv-00160-RWS Document 19-3 Filed 05/14/24 Page 12 of 12




                       CERTIFICATE OF COMPLIANCE

      I hereby certify that this document complies with Local Rule 7.1(D) as it has

been prepared using Times New Roman 14-point font, and does not exceed twenty-

five pages.

                                       s/ John C. Bell, Jr
                                      John C. Bell, Jr.
                                      Counsel for Plaintiffs


                          CERTIFICATE OF SERVICE

      This is to certify that I have this    day served a copy of the forgoing

MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR

RECONSIDERATION TO VACATE DISMISSAL PURSUANT TO FED. R.

CIV. P 59(e) AND FOR LEAVE TO FILE A SECOND AMENDED CLASS

ACTION COMPLAINT, upon opposing counsel by with the Clerk of Court using

the CM/ECF system, which will automatically send electronic mail notification of

such filing all counsel of record:

      This 14th day of May, 2024.

                                       s/ John C. Bell, Jr
                                      John C. Bell, Jr.
                                      Counsel for Plaintiffs




                                        12
